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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO


CHRISTINE GRAEBER,

      Plaintiff,

vs.                                                           NO. ____________________

UNITED STATES OF AMERICA,

      Defendant.


                                         CLAIM FOR RELIEF
                                           (Personal Injury)
  1. The incident occurred in Bernalillo County, New Mexico.
  2. The Defendant is the federal government. Pursuant to federal law, the Plaintiff properly
presented a written notice of claim (SF 95) to the Defendant within the time prescribed by law.
This action is timely filed within 6 months of the Defendant’s denial of the claim.
  3. This court has jurisdiction in this matter.
  4. On or about December 10, 2009, the Plaintiff and the Defendant were westbound on
Alameda Blvd NW, Albuquerque, New Mexico.
  5. The collision occurred when Kathryn Porrello, an employee of the Department of Veterans
Affairs and the Defendant, drove into the rear of the Plaintiff’s vehicle.
  6. The Defendant was negligent in the following respects:
                   (a) failing to keep a proper lookout,
                   (b) failing to keep the vehicle under control,
                   (c) driving too fast for the conditions,
                   (d) following too closely,
                   (e) failing to yield the right of way,

                   (f) driving in violation of existing ordinances and statutes, and
                   (g) failing to operate the vehicle in a safe and reasonable manner.


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  7. As a result, the Plaintiff has suffered permanent injuries.
  8. Consequently, the Plaintiff sustained the following damages:
                 (a) past and future medical expenses,
                 (b) pain and suffering, past and future, and
                 (c) nonmedical expenses including property damages.
  WHEREFORE, the Plaintiff prays for judgment against the Defendant for the following:
                 (1) compensation for the Plaintiff’s losses,
                 (2) prejudgment interest
                 (3) costs, and
                 (4) such other relief as the court may deem proper.
    Dated ____________________.

                                              ALEXANDER A. WOLD, P.C.


                                              by /s/ Alexander A. Wold, Jr.
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